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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LONTEX CORPORATION                                   CIVIL ACTION
   v.                                                NO. 18-5623
NIKE, INC.



                           AMENDED JUDGMENT (CORRECTED)

        AND NOW, this 27th day of April, 2022, the Judgment (ECF 364) entered by this Court

on October 29, 2021, shall, pursuant to this Court’s post-trial Orders (ECF 392, ECF 398) be

amended as follows:

   1. Judgment was previously entered in favor of Plaintiff Lontex Corporation and against

        Defendant Nike, Inc. in the amount of $791,000 (Doc. No. 392).

   2. Defendant Nike, Inc. is permanently enjoined and restrained from directly or indirectly

        using in commerce the term “cool compression” for any apparel product, including (a)

        verbally and in writing; (b) whether as a product or style name, description, or otherwise;

        (c) whether at wholesale or retail; (d) in any medium designed for viewing by non-Nike

        persons such as catalogs, advertisements, website, and social media; and (e) in any medium

        (e.g. SKU and tech sheets) providing information for use by retailers.

   3. Defendant Nike, Inc. shall advise all retailers that purchased directly from Nike any of the

        products using the term “cool compression” (identified at PX32–33) to cease use in verbal

        or written form of the term “cool compression” in relation to Nike products. Defendant

        shall serve Plaintiff with the names and contact information of retailers to whom this notice

        is sent, within thirty (30) days.

   4. Plaintiff has been awarded $4,994,975.17 in attorneys’ fees and costs (Doc. No. 402).

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    5. Amended Judgment is now entered in favor of Plaintiff Lontex and against Nike, Inc. in

        the amount of $5,785,975.17.



                                                             BY THE COURT:
                                                             /s/ MICHAEL M. BAYLSON
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                                                             MICHAEL M. BAYLSON, U.S.D.J.



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